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     Honor Willson
 1
     c/o United Stated Post Office
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     580 West Monterey Avenue
                                                                                  lfi l8 SEP 2b P 2: Of
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                                                                                    DISTRICT OF U
     Pomona, CA. [91769]
 4
 5 (General Delivery)
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 7
                             IN THE UNITED STATES DISTRICT COURT
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 9               IN AND FOR THE DISTRICT COURT OF UTAH, CENTRAL DIVISION
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   i: A WOMAN                                            Case No.: 1:18-cv-00076
12                                                       Date: 9-2Y · 20 \~
l3 AGGRIEVED PROSECUTOR,                                 Time: .J: '--ILJ( f YY'>
                                                         Dept:
                           Plaintiff(s),                 Judge: Jill N. Perrish
14
15          v.                                           OBJECTION FOR MOTION TO DISMISS

16 WRONGDOERS                                            Action Filed: July 2, 2018
                                                         Trial Date: Not Set
17 DANNI HERZOG, A WOMAN AND RUSTY

18 BINGHAM, A MAN,

19                         Defendant(s).
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     COMPLAINT: TRESSPASS BY WAY OF FORGED INSTRUMENT.
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            I, Honor Willson, have read the MOTION TO DISMISS, from plaintiff Dani Herzog's
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     counsel and the reasons the court should grant that judgment.
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            I OBJECT to Ms. Herzog's motion on the grounds her reasons do not address this
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     complaint. I further move the court to direct Ms. Herzog to take the stand and confirm the facts and
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     the statements she wrote under oath were the truth and to the best of her knowledge, she believed to
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                                     0BJECTION FOR MOTION TO DISMlSS
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 1 be true. I further require her to answer this claim. Did Ms. Herzog make statements about any facts
 2 that at the time she knew not to be true? Did she know that the children did not live in Weber
 3 County and that they were supposed to go home within the next day or two?
 4          The complaint filed, stated that the children were living in Weber County with mother and
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     stepfather where they were subjected to domestic violence and drugs regularly and that their mother
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     knowingly and without concern allowed them to be exposed to that environment.
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                                                                  Honor Willson, a woman

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                                    0BJECTION FOR MOTION TO DISMISS
                Case 1:18-cv-00076-JNP-PMW Document 12 Filed 09/26/18 Page 3 of 4
Memorandum


1 This claim is not that my daughter was arrested or that they took my grandchildren or any other court ruling on the matter.
My claim is very specific. The respondents lied in there statements to the attorney general. To get a court order for
indictment.


2 I have entered a copy of the conversation from officers ( Bingham) body cam with one of the respondents Rusty Bingham
and others at the scene prior to him writing the false statements for indictment. And you can clearly hear the conversation
about the children and where they live and when they are due to return home.


3 The Respondents entered statements under penalty of law that they were true and at the time they believed them to be
true. But how is that, not making false statements of facts, when the recording is clear and informed all the officers that the
children are not from Utah. The statement from Mr. Dailey to the officials, that the children had been with him and had just
gone with the mother for a few days during Christmas break.


4 I also contacted the proper authorities and made the same claim that children don't live and were not residents of Weber
County, and were to return home but never did.


5 The children did not live in Weber County as stated in the complaint. The children were only there for a few days. They could
not have been exposed to abuse and neglect by the mother and stepfather whom they did not live with. The children were only
visiting with their mother during winter break and we're going to return to Nevada where they had been living for many
months prior.


6    So because of the untrue statements, the children were ordered into the custody of the state for there protection,
protection from there environment. the respondents were required to investigate the homelife and where they lived to see if
it was safe. I don't know what they put in the report for the condition of there home or if they could return home safely. They
never contacted any relatives to see what living conditions were because they did not do their jobs to find out if the home the
one they lived in, was ok or not. They just filed there report that the children could not go home and should be held in custody.
By doing that they had them ripped apart allowed the boy to return home but LM was to remain in state custody due to the
mother and her ways the ways that caused harm and abuse to her children even though the children did not live with them.


7   I require the respondents to admit that they knew from witnesses and statements made by outside parties that the
information and harsh acquisitions made were solely based on what they themselves would like others to believe. With no
actual first~hand knowledge what so ever to prove their beliefs.


8 I am filing this claim on behalf of my grandchildren, and their rights to not be forever scarred by two officers of the state
who are just trying to meet there quota. Their jobs do not cover going over and above their usual investigation, but they
actually requested an indictment for child abuse of children that did not even live in Utah with the abusers and would have
been home safe and sound away from the place that they didn't even live in the first place.


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12                                           Honor Willson


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[memorandum of points and other facts) - 1




United States District Court
District of Utah
